              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 1 of 12




                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION


             UNITED STATES OF AMERICA                 :          CRIMINAL ACTION NO.
                                                      :
                          v.                          :          NO. 1:14-CR-395-TCB-ECS
                                                      :
                                                      :          SUPERCEDING
             KELVIN DURHAM,                           :
             MARCUS DAVIS,                            :
             JABARI ALBERT, and                       :
             KEITH HAWKINS,                           :
                                                      :
                    Defendants                        :

                                       REPORT AND RECOMMENDATION
                                        OF THE MAGISTRATE JUDGE
                                                  I.
                                     Introduction and Contentions

                    This case is before the Court on four motions to dismiss filed

             by Defendants Durham, Davis, Albert, and Hawkins, [Docs. 85, 88, 89,

             92].   The   government    responded    to    the    motions,   [Doc.   98],   and

             Defendants filed replies, [Docs. 101, 103, 104, 105], the last of

             which was filed on February      13, 2015. The motions are now ready for
             a report and recommendation to the district judge.

                    The motions to dismiss the indictment assert that the conduct

             of law enforcement in this investigation was so outrageous that due

             process principles would absolutely bar the government from invoking

             judicial processes to obtain a conviction. [Docs. 85 at 5; 88 at 5;

             89 at 5-6; 92 at 5]. To support this argument of a due process

             violation     Defendants    submit     that   the     government   confidential

             informant (“CI”) initiated the contact with Defendant Durham and




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 2 of 12




             introduced the idea of a robbery to him; that the CI and undercover

             agent (“UC”) exerted pressure on Mr. Durham to go through with the

             robbery and “enticed” Mr. Durham to recruit team members for the

             job; and that the CI and the UC developed the idea that weapons

             would be needed for the job and motivated the Defendants to agree to

             the job by telling them that ten kilograms of cocaine would be

             available for the taking. [Docs. 85 at 5; 88 at 5; 89 at 6; 92 at

             6].

                   The government proffers a different interpretation of the story

             line, derived from the affidavit filed in support of the criminal

             complaint. See [Doc. 1].1 The government submits that Mr. Durham

             contacted the CI looking to acquire firearms in April of 2014 and

             that in June 2014 Durham told the CI that he was actively looking

             for “a good lick,” meaning an opportunity for a robbery. [Doc. 1 at

             3]. The CI reported that Durham was known for robbery and had served

             time in prison for armed robbery. Id. Mr. Durham’s convictions were

             confirmed. Id. Later in June, the CI apparently contacted Mr. Durham
             suggesting that he knew of a stash house with ten kilograms of

             cocaine that could be robbed. Id. Mr. Durham expressed interest, and

             a meeting was set up for July 2 that Mr. Durham did not show up for.

             Id.

                   In early September, nearly three months after his no-show,

             Durham contacted the CI and asked to meet. A meeting occurred on

                   1
                       The references to [Doc. 1] will be to the pages of the
             affidavit sworn to and attached to the criminal complaint.

                                                 2




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 3 of 12




             September 23, 2014, among the CI, Durham and the UC. Id. at 4. The

             meeting took place in the UC’s car outside a restaurant. Id. The

             parties discussed the possibility of making a “move,” meaning a home

             invasion robbery to obtain cocaine. Id. The UC advised Mr. Durham

             that he knew of a location where cocaine would be. Id. Mr. Durham

             told the UC he was ready to commit. Id. The UC advised Mr. Durham

             that he routinely picked up five kilograms of cocaine at the

             location and that he could guarantee a minimum of ten would be there

             to be taken. Id. at 4-5. He also told Mr. Durham that the stash
             house would be guarded by three to four armed Mexicans. Id. at 4.

                  Further    details     regarding   the   plan   for   the    robbery      were

             discussed at this meeting, including the need for the UC to meet the

             members of Defendant’s team that would handle the robbery, so he

             could make sure he (the UC) would not be shot during the hold-up.

             Id. at 5. Mr. Durham was told the area of Atlanta where the alleged

             Mexican drug source operated. Id. When he left the vehicle, Mr.

             Durham showed the CI and UC a handgun that he had concealed in his
             pocket.   Id.   at   5-6.   This   meeting    on   September     23,   2014,    was

             apparently videotaped and audio-taped. [Doc. 98 at 4].

                  On September 29, 2014, Mr. Durham contacted the CI, and Mr.

             Durham said he and his people were ready to do the job. [Doc. 1 at

             6]. Between September 29 and 30, the UC and Mr. Durham exchanged

             text messages and agreed to meet on October 1. Id. On that date, Mr.

             Durham, accompanied by Defendant Albert, met with the UC and CI. Id.

             at 6-7. They discussed the proposed robbery at length, in particular

                                                     3




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 4 of 12




             the manner in which entry would be made. Id. The UC again advised

             Mr. Durham and Mr. Albert that they could guarantee that ten

             kilograms would be available for taking at the stash house when the

             robbery occurred. Id. at 7. The UC also wanted to meet the entire

             team, again, purportedly because he did not want to get accidentally

             shot during the robbery. Id. The UC stated that there was no

             pressure on the Defendants to commit and that if there was any

             hesitation on their part, they would not proceed. Id. at 7-8. Mr.
             Durham and Mr. Albert asked many questions about the details of the

             job. Id. at 8. Both acknowledged that there was no hesitation on

             their part. Durham at one point stated that “Everybody I done rocked

             with, I done rocked with before, we go in on them folks, boy.” Id.

             It is unclear from the affidavit whether this meeting was also video

             and audio taped, although the specific quotes would suggest that it

             was.

                    On October 17, 2014, Durham texted the UC to confirm that they

             would meet and then do the job. Id. at 9. They met at a Krystal in
             Decatur. Id. This meeting was also video and audio-taped. [Doc. 98

             at 10-11]. All four Defendants showed up. All four got in the UC

             vehicle. [Doc. 1 at 9]. Defendants discussed how they would do the

             job – “hit the door.” Id. The UC was advised to stand to the side

             out of the way in case of shots fired. Id. The UC then said he had

             to go pick up a Corvette equipped with a trap compartment built in

             to hold the drugs, which the Defendants could use, before they did

             the job. Id. at 9-10. When asked when they would hit the house, the

                                                 4




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 5 of 12




             UC replied “Now,” and invited the Defendants to follow him to pick

             up the Corvette. Id. at 10. All proceeded to a storage unit in

             Tucker. Id.

                  The Corvette was parked outside a unit at the storage facility.

             Id. The UC got in, started it, and opened the trunk to show

             Defendants the trap compartment. Id. At that point, Mr. Durham

             pulled a pistol and pointed it at the UC, telling him not to move.

             Id. Defendant Hawkins pulled a handgun, as did Davis. Id. At this
             point an ATF response team deployed “flash bangs” and came out of

             the storage unit. Id. at 11. All the Defendants were arrested on the

             scene and several firearms were seized. Id.
                                               II.
                                         Legal Standards

                  Defendants claim that the government engaged in such outrageous

             conduct as to violate their rights to due process of law under the

             Constitution, requiring dismissal. The issue presented is whether

             Defendants have sufficiently set forth conduct that would sustain
             their claim and whether they are entitled to an evidentiary hearing

             on their motions. My recommendation is that the motions be denied

             without an evidentiary hearing.

                  In United States v. Russell, 411 U.S. 423, 93 S. Ct. 1637
             (1973), the Supreme Court recognized outrageous governmental conduct

             as a legal defense. To succeed under this defense, the defendant

             must show that the challenged governmental conduct violated “that

             ‘fundamental fairness, shocking to the universal sense of justice,’


                                                 5




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 6 of 12




             mandated by the Due Process Clause of the Fifth Amendment.” Russell,

             411 U.S. at 432, 93 S. Ct. at 1643 (quoting Kinsella v. United

             States ex rel. Singleton, 361 U.S. 234, 246, 80 S. Ct. 297, 304

             (1960)); see also Hampton v. United States, 425 U.S. 484, 96 S. Ct.

             1646 (1976); United States v. Tobias, 662 F.2d 381 (5th Cir.1981),

             cert. denied, 457 U.S. 1108, 102 S. Ct. 2908 (1982).2 Whether

             outrageous governmental conduct exists “turns upon the totality of

             the circumstances with no single factor controlling,” and the

             defense “can only be invoked in the rarest and most outrageous

             circumstances.” Tobias, 662 F.2d at 387; see also United States v.
             Michael, 17 F.3d 1383, 1386 (11th Cir. 1994) (“Dismissal is only

             favored in the most egregious cases.”).

                  Neither the Supreme Court nor the Fifth nor Eleventh Circuits

             has ever reversed a case on the ground of outrageous government

             conduct. United States v. Sayers, 698 F.2d 1128, 1130 (11th Cir.

             1983); United States v. Gianni, 678 F.2d 956, 959–60 (11th Cir.),

             cert. denied, 459 U.S. 1071, 103 S. Ct. 491 (1982). Recently, in
             United States v. Jayyousi, 657 F.3d 1085, 1111 (11th Cir. 2011), the

             Eleventh Circuit noted that:

                  We have never applied the outrageous government conduct
                  defense and have discussed it only in dicta. See United
                  States v. Ciszkowski, 492 F.3d 1264, 1272 (11th Cir.2007)
                  (Carnes, J., concurring) (describing the outrageous

                  2
                        Decisions of the Fifth Circuit handed down before Oct. 1,
             1981 are binding precedent in the Eleventh Circuit. Bonner v. City
             of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc). Tobias
             was decided on November 30, 1981, and is therefore not binding
             authority.

                                                 6




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 7 of 12




                  government conduct doctrine as rooted in “speculative
                  dicta” and noting that we have never “reversed a
                  conviction or vacated a sentence on th[is] basis”).
                  Several of our sister circuits have either rejected this
                  defense completely, see United States v. Boyd, 55 F.3d
                  239, 241 (7th Cir. 1995), or have been sharply critical of
                  the defense, see, e.g., United States v. Tucker, 28 F.3d
                  1420, 1422–27 (6th Cir. 1994) (citing separation of powers
                  concerns and discussing the lack of authority for any
                  argument that outrageous government conduct violates due
                  process); United States v. Santana, 6 F.3d 1, 3 (1st Cir.
                  1993) (“Outrageous misconduct is the deathbed child of
                  objective entrapment, a doctrine long since discarded in
                  the federal courts.”).

                  Nevertheless,    after     further   stating   that   it   had    “never

             acknowledged the existence of the outrageous government conduct

             doctrine,”   the   Court   in    Jayyousi   observed   that     “outrageous

             government conduct occurs when law enforcement obtains a conviction

             for conduct beyond the defendant’s predisposition by employing

             methods that fail to comport with due process guarantees.” 567 F.3d

             at 1111-12 (citing Ciszkowski, 492 F.3d at 1270).
                                                 III.
                                           The Law Applied

                  In this case, the undersigned concludes that the conduct
             alleged by the Defendants does not rise to a level of “fundamental

             [un]fairness, shocking to the universal sense of justice, mandated

             by the Due Process Clause of the Fifth Amendment.” Russell, 411 U.S.

             at 432, 93 S. Ct. at 1643. The government has proffered facts under

             oath through the affidavit presented with the complaint which

             establish probable cause for the charges ultimately returned in the

             superceding indictment, namely assault upon an officer of the United

             States while engaged in his official duties in violation of 18

                                                  7




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 8 of 12




             U.S.C. § 111 (a) and (b), as well as conspiracy to possess cocaine

             in violation of 21 U.S.C. §§ 846 and 841. See [Doc. 61].

                   Even taking the statements in the affidavit in their light most

             favorable to the Defendants, the government’s conduct did not

             deprive Defendants of due process guarantees. The totality of the

             circumstances does not show that the government instigated the

             criminal activity in this case or introduced the idea of the crime

             to Mr. Durham. The affidavit attests that the CI came to the

             government because Mr. Durham had told him he was looking for “a

             good lick” to hit and needed some “big dope.”           Mr. Durham had a

             record of robbery convictions. This was before the CI told Mr.

             Durham in June that he knew of a possible target for a robbery and

             Mr. Durham indicated an interest. Nothing was pursued initially, and

             Mr. Durham was seemingly uninterested in following up. It was not

             until September, nearly three months later, that Defendant Durham

             re-contacted the CI to pursue the robbery idea. Defendant had nearly

             three months of no contact with the CI to walk away without pursuing

             the matter. But he came back.

                   Furthermore, the subsequent history does not show an operation

             in which the government was so pervasively over-involved as to

             challenge fundamental fairness. The facts in the affidavit show that

             Mr.   Durham   was   an   active,   motivated   participant.   He   was   not

             “directed” to recruit a team – a team was organically necessary for

             the crime he agreed to participate in. The government did not entice

             him to obtain weapons for the home invasion, nor did they actually
                                                   8




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 9 of 12




             procure any tools for the robbery, except arguably the Corvette with

             the trap compartment the UC was going to let the Defendants use for

             the robbery. Weapons would obviously be required for a successful

             rip-off of a Mexican drug stash house. What weapons were needed was

             left up to the Defendants.

                    The government also did not introduce the idea of this robbery

             to the other Defendants – Mr. Durham did that by recruiting them.

             And, when Mr. Albert, for example, came to the meetings to discuss

             carrying out this violent plan, he was fully involved. Likewise, all

             four of the Defendants met together on the day of the proposed

             robbery with the CI and the UC as full partners in this endeavor –

             their assistance and role was not to be meager at all – they were

             the ones taking on the role of the lead participants in a rip off

             that would likely result in death or injury to the Mexican drug

             dealers they were robbing. Indeed, their advice to the government UC

             was to stay out of harm’s way when the “hit” went down, so he

             wouldn’t get shot. If there was “know-how” provided here regarding

             this   home   invasion   robbery   plan,   it   was   not   coming   from   the

             government; it was from the Defendants.

                    Exactly what was going on when the Defendants pulled their

             weapons on the UC is still unclear. They may have “made” the UC and

             suspected the government’s involvement. They may have decided to rob

             the UC, thinking he had drug proceeds for the purchase of the five




                                                  9




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 10 of 12




             kilograms of cocaine.3 Maybe they wanted the Corvette. But whatever

             involvement the CI and the UC had in the development of the robbery

             scenario, that scenario did not involve the Defendants pulling their

             weapons on the UC at the storage unit. The government certainly did

             not initiate that plan.

                  Although the facts, taken in their best light for Defendants,

             show that the government dangled the opportunity to rip off some

             drug dealers in front of Mr. Durham and followed up with him when he

             took the bait, that conduct was not outrageous. “[G]overnment

             infiltration of criminal activity is a recognized and permissible

             means       of   investigation   ...,   even   though   the   government   agent

             supplies something of value to the criminal.” Tobias, 662 F.2d at
             386 (citations and internal quotation marks omitted). In particular,

             “[w]here the government is investigating offenses involving illegal

             drugs, it often must engage in undercover operations because it is

             very difficult to discover the contraband. This activity by the

             government does not generally constitute outrageous conduct.” United
             States v. Lopez–Cruz, 170 F. App’x 634, 636 (11th Cir. 2006)

             (unpublished decision). “Moreover, challenges to the ‘reverse sting’

             method of police investigation have been rejected by this Court on

             numerous occasions.” United States v. Sanchez, 138 F.3d 1410, 1413

             (11th Cir. 1998).


                     3
                       Five kilograms of cocaine would have a wholesale value of
             close to $100,000, based on the values per kilo the Court is
             familiar with from many other cases.

                                                      10




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 11 of 12




                    Sanchez, indeed, is informative. In that case, the scenario was

             very similar to the case at bar. The ATF received information from

             a confidential informant about a group of armed home invaders who

             would rip off stash houses. Id. at 1412. Working with the informant,

             the government created a reverse sting operation by which the

             defendants agreed to the details of a home invasion. Id. They were

             arrested in a parking lot where they had assembled in readiness for

             going to the stash house, which they had been told would involve 50

             kilograms       of   cocaine   and   300   pounds    of   marijuana.     Id.   After

             discussing the outrageous government conduct defense, the Court

             found    that    the   government’s    conduct      “[did]   not   approach     that

             demonstrable level of outrageousness the case law suggests would be

             necessary for reversal of the defendants’ convictions.” Id. at 1414.

             The same result should obtain in this case, which is virtually

             indistinguishable.

                    “Where the government merely presents a defendant with a

             routine criminal opportunity of which the defendant is more than
             willing to take advantage, the government’s actions do not amount to

             outrageous conduct warranting dismissal.” United States v. Rolon,
             445 F. App’x 314, 322 (11th Cir. 2011) (unpublished decision). In

             this    case,    the   government    presented      Mr.   Durham   and   the   other

             Defendants with a “routine” criminal opportunity that they appeared

             to have been more than willing to take advantage of.

                    Insofar as an evidentiary hearing is concerned, such a hearing

             would be inappropriate. “[W]ithout sufficient factual allegations to

                                                        11




AO 72A
(Rev.8/82)
              Case 1:14-cr-00395-TCB-CMS Document 108 Filed 03/17/15 Page 12 of 12




             support an outrageous-governmental-conduct defense, the Court need

             not hold an evidentiary hearing on the issue.” United States v.

             Galvis–Pena, No. 1:09-CR-25-TCB-CCH-4, 2012 WL 425240, at *5 (N.D.

             Ga.) (Batten, J.) (citing United States v. Holloway, 778 F.2d 653,

             658 (11th Cir. 1985)). Moreover, Defendants’ contentions about the

             agents’ conduct in this case “raise questions that are intermeshed

             with questions going to the merits of the case because they would

             require proof of the criminal conduct alleged in the indictment,”

             and therefore, “they are not capable of resolution without a [‘trial

             on the merits’] under Fed. R. Crim. P. 12(b)[(1)].” Id. at *5. Rule
             12(b)(1) provides that “[a] party may raise by pretrial motion any

             defense, objection, or request that the court can determine without

             a trial on the merits.” Fed. R. Crim. P. 12(b)(1) (emphasis added).
                                                III.
                                             Conclusion

                  Accordingly, for the reasons discussed above, the undersigned

             RECOMMENDS that the motions to dismiss, [Docs. 85 , 88, 89, 92], be

             DENIED and that the requests for an evidentiary hearing be likewise

             DENIED.

                  SO REPORTED AND RECOMMENDED, this 17th day of March, 2015.



                                               s/ E. Clayton Scofield III
                                               E. CLAYTON SCOFIELD III
                                               UNITED STATES MAGISTRATE JUDGE




                                                 12




AO 72A
(Rev.8/82)
